                            No. 23-50224

In the United States Court of Appeals for the Fifth Circuit
                          _____________

Leila Green Little; Jeanne Puryear; Kathy Kennedy; Rebecca
    Jones; Richard Day; Cynthia Waring; Diane Moster,
                                         Plaintiffs-Appellees,
                                  v.
  Llano County; Ron Cunningham, in his official capacity as
 Llano County Judge; Jerry Don Moss, in his official capacity
  as Llano County Commissioner; Peter Jones, in his official
capacity as Llano County Commissioner; Mike Sandoval, in his
    official capacity as Llano County Commissioner; Linda
       Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano
   County Library System Director; Bonnie Wallace, in her
   official capacity as Llano County Library Board Member;
   Rochelle Wells, in her official capacity as Llano County
    Library Board Member; Rhoda Schneider, in her official
capacty as Llano County Library Board Member; Gay Baskin, in
 her official capacity as Llano County Library Board Member,
                                   Defendants-Appellants.
                          _____________

            On Appeal from the United States District Court
                  for the Western District of Texas
                       Case No. 1:22-cv-424-RP
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    Reply Brief In Support Of Motion To Expedite
    Consideration Of Motion To Expedite Appeal
                          _____________

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   The appellants have explained both their reasons for requesting an expedited

appeal and their reasons for seeking expedited consideration of that request. The

district court waited until March 30, 2023, to grant the preliminary injunction—

five months after the two-day hearing on the motion for preliminary injunction, and
only six and a half months before the scheduled trial date of October 16, 2023. The

timing of the district court’s ruling makes it difficult, if not impossible, for this

Court to resolve the appeal before the district court enters final judgment unless the
appeal is expedited. And it will waste this Court’s resources (as well as the parties’

time) to conduct briefing and oral argument on a schedule that enables the district

court to moot the appeal before this Court can rule. See Mot. to Expedite Appeal,

ECF No. 14-1, at 18.

   The appellants also seek a ruling from this Court before the October trial date

because the district court is insisting that the First Amendment prohibits content-

or viewpoint-based weeding decisions1—an untenable stance that contradicts the

precedent of this Court2 as well as library weeding manuals, which instruct librari-

ans to weed books with misleading, superseded, or trivial content, or that contain




1. See Order, ECF No. 133, at 17 (App. 511) (“[T]he First Amendment prohibits
   the removal of books from libraries based on either viewpoint or content dis-
   crimination.”);
2. See Chiras v. Miller, 432 F.3d 606, 614 (5th Cir. 2005) (“‘Public library staﬀs
   necessarily consider content in making collection decisions and enjoy broad dis-
   cretion in making them.’” (emphasis added) (quoting United States v. Ameri-
   can Library Ass’n Inc., 539 U.S. 194, 205 (2003) (plurality opinion of
   Rehnquist, C.J.))).


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biased, racist, or sexist views.3 If this Court does not expedite the appeal, the case

will proceed to trial over whether the defendants are guilty of “content discrimina-

tion” or “viewpoint discrimination,” even though content and viewpoint discrimi-

nation are both permissible and inevitable when libraries weed books to create room
for new and better materials. See Mot. to Expedite Appeal, ECF No. 14-1, at 10–12.

It will waste both judicial resources and the parties’ resources to have the case tried

on this demonstrably false premise.
    The appellants also explained their reasons for requesting expedited briefing on

their motion to expedite the appeal: Providing a 10-day window for the appellees to

respond to the motion to expedite the appeal will aggravate the time crunch by

needlessly delaying resolution of the motion and the issuance of a briefing schedule.

See Mot. to Expedite Consideration of Motion to Expedite Appeal, ECF No. 18, at

1. That some of this explanation was provided in the underlying motion to expedite

the appeal, rather than in the motion to expedite consideration of that motion, does

not mean that the appellants failed to “provide a basis for expedited consideration”

of their motion to expedite the appeal. See Appellees’ Response, ECF No. 26, at 2

(falsely asserting that the appellants “say nothing about the nature of their need to

advance consideration of their underlying appeal with such speed—let alone con-

sideration of the motion to expedite the motion to expedite the appeal.”).




3. CREW Manual, ECF No. 117-2 (App. 381–488).


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   The appellees question the need to expedite the appeal,4 but that is irrelevant to

whether this Court should expedite consideration of the motion to expedite appeal.

The only argument that the appellees present against expediting the motion is their

claim that they “cannot respond to Appellants’ motion to expedite . . . by this Fri-
day, April 28.” Appellees’ Response, ECF No. 26, at 3. That is not credible. The

appellants’ motion to expedite the appeal is barely one page long,5 and its argument

is simple and straightforward. A “fulsome response”6 is not required, and any
competent lawyer could write and file a response to this motion in less than an hour.

In addition, the plaintiffs have no fewer than ten attorneys from two different law

firms (BraunHagey and Witliff Cutter) who have entered appearances in the district

court, and an attorney from BraunHagey was just admitted pro hac vice two days

ago. The appellees do not claim that all ten attorneys will be participating in the

hearing on Thursday, April 27, 2023, nor do they claim that every member of their

10-person trial team is so preoccupied with other responsibilities between now and

Friday that they cannot spare time to respond to a one-page motion. The proposed

deadline of Friday, April 28 is generous, as it gives the appellees four working days

to respond to a one-page motion (the motion to expedite the appeal was filed short-




4. See Appellees’ Response, ECF No. 26, at 4 (“Appellants’ concern that they
   may ultimately be subject to a permanent (rather than preliminary) injunction
   was not raised on this motion nor is it suﬃcient good cause to expedite an ap-
   peal”).
5. See Mot. to Expedite Appeal, ECF No. 14-1, at 18.
6. Appellees’ Response, ECF No. 26, at 3.


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ly after midnight on Tuesday, April 25), and it enables this Court to rule quickly if it

decides to expedite the appeal.

                                  Conclusion
    The motion to expedite consideration of the appellants’ motion to expedite the

appeal should be granted, and the Court should instruct the appellees to respond to

the motion to expedite the appeal by close of business on Friday, April 28, 2023.

                                         Respectfully submitted.

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    I certify that on April 26, 2023, this document was electronically filed with the
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      27(d)(2) because it contains 890 words, excluding the parts of the brief ex-
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    Counsel also certifies that on April 26, 2023, this brief was transmitted to Mr.
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    Counsel further certifies that: (1) required privacy redactions have been made,
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
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